                                                                           FILED
PAULETTE L. STEWART                                                         NOV f 2 2015
Assistant U.S. Attorney
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                                                                           District Of Montana
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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION

 UNITED STATES OF AMERICA,
                                              CR 15-32-M-DWM
                 Plaintiff,

           vs.                                NOTICE OF CORRECT :>ENALTY
                                              FOR COUNTS 1-13
 ERIC DANIEL DOYLE,
 JEFFREY LEE PALMER,
 BRIAN SPAIN,
 TANNA LEE MEAGHER, and
 JAY WILLIAM ISLES, Sr.,

                 Defendants.


      The United States of America by and through Assistant United S ates

Attorney, Paulette L. Stewart, notifies the Court and counsel of the correct penalty

for Counts 1-13 of the Indictment in this case.   The correct maximum Jenalty for

each count is 10 years imprisonment, $250,000 fine, and three years su1~ervised

release.
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      Assigned counsel will ask the Magistrate Court to correct the In ictment by

interlineation at the initial appearance date for most of the defendants set December

2, 2015, in Missoula, Montana.

      Dated this 12th day of November, 2015.

                                       MICHAEL W. COTTER
                                       United States Attorney
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                                       PAULETTE L. STEWART
                                       Assistant United States Attorne
                                       Attorney for Plaintiff




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